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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

UNITED STATES *
*
y. CRIM. No, 20-14037-5(ZNQ)
*
JACQUELYN DEJESUS :
OB oR oi ok oe

ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING

In accordance with Standing Order 2020-06, this Court finds:
That the Defendant (or the Juvenile) has consented to the use of video
teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation
with counsel; and
The proceeding(s) held on this date may be conducted by:

Vv Video Teleconferencing

 

 

 

Teleconferencing, because video teleconferencing is not reasonably available for the

 

following reason:
[ The Defendant (or the Juvenile) is detained at a facility lacking video

teleconferencing capability.

[| Other:

'
Date: 10/20/2020 “urtw_Loke °

Honofgle Zahid N. Quraishi
United States Magistrate Judge~
